 Case: 1:16-cv-08637 Document #: 5494 Filed: 03/28/22 Page 1 of 3 PageID #:316157




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST
                                                         Case No.: 1:16-cv-08637
LITIGATION
                                                         Judge Thomas M. Durkin
This Document Relates To:
                                                         Magistrate Judge Jeffrey T. Gilbert
Chick-fil-A, Inc. v. Agri Stats, Inc., et al.,
20-cv-7205


 STIPULATION AND [PROPOSED ORDER] OF DISMISSAL WITH PREJUDICE OF
             DEFENDANT PILGRIM’S PRIDE CORPORATION

        Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff Chick-fil-A, Inc. (“CFA”) and

Defendant Pilgrim’s Pride Corporation (“Pilgrim’s Pride”), by and through their undersigned

counsel, hereby submit the following Stipulation of Dismissal with Prejudice.

        1.      The Stipulation of Dismissal with Prejudice (“Stipulation”) is between CFA and

Pilgrim’s Pride only, and no other Defendant, and relates only to CFA’s claims against Pilgrim’s

Pride in Chick-fil-A, Inc. v. Agri Stats, Inc., et al., (U.S. Dist. Ct. N.D. Ill. Case No. 1:20-cv-7205)

which has been centralized pursuant to Local Rule 40.4(a) within the matter captioned In re Broiler

Chicken Antitrust Litigation (U.S. Dist. Ct. N.D. Ill. Case No. 1:16-cv-08637).

        2.      In accordance with Rule 41(a) of the Federal Rules of Civil Procedure, CFA and

Pilgrim’s Pride stipulate and agree to the dismissal with prejudice of all of CFA’s claims asserted

against Pilgrim’s Pride, with each side bearing their own attorneys’ fees, costs, and expenses

        3.      The stipulation is not a dismissal of, and shall not release, compromise or otherwise

have any bearing on, CFA’s claims against all Defendants other than Pilgrim’s Pride.


SO ORDERED: __________________________________                          Dated:   _______________
                United States District Judge
 Case: 1:16-cv-08637 Document #: 5494 Filed: 03/28/22 Page 2 of 3 PageID #:316158




Dated: March 28, 2022                Respectfully submitted,

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                                        2
 Case: 1:16-cv-08637 Document #: 5494 Filed: 03/28/22 Page 3 of 3 PageID #:316159




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of March, 2022, I caused a true and correct copy of

the foregoing document to be served upon all counsel of record via the Court’s CM/ECF system.

                                                    /s/ Ryan P. Phair
                                                    Ryan P. Phair
